
In re Curtis, Richard; — Plaintiff(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “B”, No. 248-724.
Granted. Relator’s sentence is vacated and this case is remanded to the district court for resentencing in accord with the procedures set forth in State v. Husband, 593 So.2d 1257 (La.1992) and State v. Desdunes, 579 So.2d 452 (La.1991). If the district court cannot determine the intent of the original sentencing judge, the court should make an independent determination of an appropriate sentence, not to exceed the original in term of years, according to the Sentencing Guidelines promulgated by the Louisiana Sentencing Commission.
